Case 1:17-cr-00134-CMA Document 1307 Filed 12/30/20 USDC Colorado Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                              Judge Christine M. Arguello

 Civil Action No. 19-cv-00184-CMA
 Criminal Action No. 17-cr-00134-CMA-1

 UNTIED STATES OF AMERICA,

         Plaintiff/ Respondent,

 v.

 CLARENCE ANTOINE,

         Defendant/ Movant.


      ORDER DENYING DEFENDANT’S MOTION TO ALTER OR AMEND JUDGMENT


         This matter is before the Court on Defendant Clarence Antoine’s Motion to Alter

 or Amend Judgment Pursuant to F.R.C.P. 59 (Doc. # 1301). The Motion is denied for

 the following reasons.

         Defendant was convicted of cocaine and weapons charges. (Docs. ## 741, 744).

 He then moved to vacate his sentence under 28 U.S.C. § 2255, arguing that he had

 received ineffective assistance of counsel and that his sentence violated due process.

 (Doc. # 1211). This Court denied the motion in a written order. (Doc. #1299). Defendant

 now asks the Court to reconsider that order.

         A Court may grant a Rule 59 motion when (1) there has been a change in the law

 since the prior judgment was issued; (2) the movant presents new evidence that was

 previously unavailable; or (3) there is a need to correct a clear error or prevent manifest

 injustice. Servants of Paraclete v. Does, 204 F. 3d 1005, 1012 (10th Cir. 2000). None of

 those circumstances are present here.


                                              1
Case 1:17-cr-00134-CMA Document 1307 Filed 12/30/20 USDC Colorado Page 2 of 4




        Defendant cites no change in the law, no new evidence, and no clear error; he

 merely reargues his prior § 2255 Motion. The Court has already considered and denied

 Defendant’s request for § 2255 relief. Defendant may not now use a Rule 59(e) motion

 “to revisit issues already addressed or advance arguments that could have been raised

 in prior briefing.” Servants of the Paraclete, 204 F.3d at 1012.

        Further, to the extent Defendant raises new arguments for § 2255 relief, the

 Court lacks jurisdiction to hear those arguments. A Rule 59 motion that raises new

 substantive arguments in support of a § 2255 motion “is itself a second § 2255 motion.”

 U.S. v. Pedraza, 466 F.3d 932, 934 (10th Cir. 2006). “Before a federal prisoner may file

 a second or successive motion under § 2255, the prisoner must first obtain an order

 from the appropriate court of appeals authorizing the district court to consider the

 motion.” In re Cline, 531 F. 3d 1249, 1250 (10th Cir. 2008) (citing 28 U.S.C. §§

 2244(b)(3)(A), 2255(h)). A district court does not have jurisdiction to address the merits

 of a second § 2255 motion until the appropriate court of appeals has granted the

 required authorization. Id. at 1251.

        Defendant has not obtained the necessary authorization from the Tenth Circuit to

 file a second § 2255 motion. Therefore, the Court must either dismiss the § 2255 motion

 for lack of jurisdiction or, if it is “in the interest of justice,” transfer the matter to the Tenth

 Circuit pursuant to 28 U.S.C. § 1631. In re Cline, 531 F.3d at 1252.

        To determine whether transfer to the Tenth Circuit would be “in the interest of

 justice,” the Court must consider a number of factors, including “whether the claims

 would be time barred if filed anew in the proper forum, whether the claims alleged are

 likely to have merit, and whether the claims were filed in good faith.” Id. at 1251. The



                                                  2
Case 1:17-cr-00134-CMA Document 1307 Filed 12/30/20 USDC Colorado Page 3 of 4




 Court has considered each of these factors and concludes that they favor dismissal

 rather than transfer.

        The second factor, in particular – likelihood that the claims have merit – favors

 dismissal. Under Section 2255(h), a federal prisoner seeking to file a second § 2255

 motion must demonstrate that the motion is based on (1) newly discovered evidence, §

 2255(h)(1); or (2) “a new rule of constitutional law, made retroactive to cases on

 collateral review by the Supreme Court, that was previously unavailable,” § 2255(h)(2).

 Defendant has not made either showing. Thus, the claims in Defendant’s Motion are not

 “likely to have merit,” and transfer would not be “in the interest of justice.” See In re

 Cline, 531 F.3d at 1252. Therefore, to the extent Defendant’s Motion can be construed

 as a second § 2255 motion, the Court will dismiss the motion for lack of jurisdiction.

        Finally, under Rule 11(a) of the Rules Governing Section 2255 Proceedings for

 the United States District Courts, a “district court must issue or deny a certificate of

 appealability when it enters a final order adverse to the applicant.” Under 28 U.S.C. §

 2253(c)(2), the Court may issue a certificate of appealability “only if the applicant has

 made a substantial showing of the denial of a constitutional right.” Such a showing is

 made only when “a prisoner demonstrates ‘that jurists of reason would find it debatable’

 that a constitutional violation occurred, and that the district court erred in its resolution.”

 U.S. v. Pinson, 584 F.3d 972, 975 (10th Cir. 2009) (quoting Slack v. McDaniel, 529 U.S.

 473, 484 (2000)). The Court denies a certificate of appealability because Defendant has

 not made a substantial showing of the denial of a constitutional right.

        For the foregoing reasons, Defendant’s Motion to Alter or Amend the Judgment

 (Doc. # 1301) is DENIED. It is



                                                3
Case 1:17-cr-00134-CMA Document 1307 Filed 12/30/20 USDC Colorado Page 4 of 4




       FURTHER ORDERED that to the extent Defendant’s Motion could be construed

 as a second § 2255 motion, the motion is DISMISSED for lack of jurisdiction. It is

       FURTHER ORDERED that no certificate of appealability will issue because

 Defendant has not made a substantial showing of the denial of a constitutional right.



       DATED: December 30, 2020

                                                 BY THE COURT:

                                                 ______________________________
                                                 CHRISTINE M. ARGUELLO
                                                 United States District Judge




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